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IN THE UNITED STATES DISTRICT COUR_T; 7 1 _ .`.` . -_
FOR THE * ~
DISTRICT OF MASSACHUSSETTS _ 1

 

SERONO, INC. and INDUSTRIA
FARMACEUTICA SERONO SpA,

Plaintiffs,
v.
FERRING PHARMACEUTICALS, INC.,

CIVIL ACTION NO. 04-10305 MLW
Defendant. §

 

JOINT MOTION TO EXTEND STAY

Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Plaintiff Serono, Inc.
(“Serono”) and Defendant Fern`ng Pharmaceuticals, Inc. (“Ferring”), by their undersigned
attorneys, for their Joint Motion to Extend Stay, state as follows:
1. This Court has previously stayed these proceedings until December 3, 2004 for the
purpose of allowing the parties to finalize a settlement agreement to document their settlement in
principle of this case and its companion case, Serono. Inc. v. Fem'ng Pharmaceuticals, Inc., Civil
Action No. 02-] 1832 MLW.
2. The parties are subsidiaries of European companies that are involved in the settlement
negotiations, which has complicated and slowed the negotiation and drafting process
3. However, the parties believe they are now very close to a final agreement
4. Consequently, the parties are requesting an additional fourteen (14) day extension of the
stay in this matter - from December 3, 2004 until December 17, 2004 w in order to fully

document their settlement agreement

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WHEREF()RE, Serono and Ferring jointly request this Couit to extend the existing stay

of this action from December 3, 2004 up to and including December 17, 2004.

Respectfully submitted,

Serono, Inc. and Industria
Farmaceutica Serono SpA
By their Attorneys,

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F‘red Keny (BBO a1 544046)

leoN PEABODY LLP
100 Summer Street
Boston, MA 02110-2131
Ph: (617) 345-1000
Fax: (617) 345-1300

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Fening Phannaceuticals, lnc.
By its Attorneys,

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Michael T. Gass (BBO#546874)
Palmer & Dodge, LLP

lll Huntington Avenue

Boston, MA 02199

Ph: 617~239-0100

